        Case 2:07-cr-00289-MCE Document 28 Filed 09/25/07 Page 1 of 6


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     EDI CAMACHO
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,               )       CR.NO.S-07-0289-LKK
10                                           )
           PLAINTIFF,                        )       STIPULATION AND
11                                           )       ORDER TO CONTINUE STATUS
           v.                                )       CONFERENCE TO
12                                           )       DECEMBER 18, 2007
     EDI CAMACHO, et al, ,                   )
13                                           )
                                             )
14         DEFENDANTS.                       )
                                             )
15   ______________________________)
16
           Plaintiff, the United States of America, by its counsel, Assistant United States
17
     Attorneys, Ms. Carolyn Delaney and Mr. Samuel Wong, and defendant, MISAEL
18
     CAMACHO, represented by Mr. Dwight Samuel and defendant JUAN CAMACHO,
19
     represented by Mr. Gilbert Roque, and defendant EDI CAMACHO, represented by
20
     Mr. James R. Greiner, hereby stipulate and agree that the status conference calendared
21
     for Tuesday, September 25, 2007, at 9:30 a.m., before the Honorable Senior United
22
     States District Court Judge, Lawrence K. Karlton, shall be continued to Tuesday,
23
     December 18, 2007, at 9:30 a.m..
24
           Ms. Ana Rivas, the Court’s courtroom deputy clerk, was contacted by counsel
25
     to check the proposed date and the date of Tuesday, December 18, 2007, was open
26
     and available for the Court for a further status hearing date. No trial date has been set.
27
28                                               1
        Case 2:07-cr-00289-MCE Document 28 Filed 09/25/07 Page 2 of 6


 1   The defendants are in custody.
 2
 3                           STATUS OF THE CASE TO DATE
 4
 5         On June 27, 2007, the government filed an Indictment against the three
 6   defendants. In Count one (1) the government alleges that all three defendants violated
 7   Title 21 U.S.C. section 846 and 841(a)(1), conspiracy to possess with intent to
 8   distribute and distribute cocaine. In addition, the government alleged that both Edi
 9   Camacho and Misael Camacho had been convicted of a prior drug conviction. In
10   Count two (2) the government alleges that all three defendants violated Title 21
11   U.S.C. section 841(a)(1) possession of cocaine with intent to distribute. In addition,
12   the government alleged that both Edi Camacho and Misael Camacho had been
13   convicted of a prior drug conviction.
14          The potential penalties facing the defendants are as follows: for Edi Camacho
15   and Misael Camacho as to both Counts one and two potentially face twenty (20) years
16   to life, a $8,000,000 fine or both and 10 years of supervised release (if not deported)
17   and a $100 assessment on each count: co-defendant Juan Camacho potentially faces
18   on count one and two 10 years to life, a $4,000,000 fine or both, 5 years of supervised
19   release (if not deported) and a $100 assessment on each count.
20         The case has not been set for motions or for trial.
21         All of the defendants are in custody in the Sacramento County Jail.
22                                 DISCOVERY TO DATE
23         The government has provided the following discovery to date:
24                1-approximately 2,500 pages of discovery (all in English). The discovery
25   needs to be read to the clients since all three defendants only speak and write Spanish
26   and the written discovery to date is only in English.
27                2-the government has discovered audio tape recordings, which are
28                                               2
        Case 2:07-cr-00289-MCE Document 28 Filed 09/25/07 Page 3 of 6


 1   voluminous. The range of recordings in length of time is approximately between 2
 2   seconds to almost 5 minutes. The audio tapes are almost all in the Spanish language
 3   (there are a few recordings that are in English due to recordings of sales calls for
 4   various products that are in English). These audio tapes need to be reviewed by
 5   defense counsel with their respective clients and with the assistance of an interpreter.
 6   This is and will be a time consuming process.
 7                3-the government has represented that more discovery is forth coming
 8   adding to what the defense already has been given.
 9         Based on the volume of discovery, both in pages (after the new discovery from
10   the government it will be in excess of 2,500 pages) and the audio tapes, this case is
11   complex under the wording of the Speedy Trial Act.
12         In addition, investigation is on going by the defense, and due to the government
13   representing it will produce new and additional discovery, the investigation is in a
14   fluid state and continues to be ongoing.
15
16           RELATED CASES IN THIS COURT DUE TO THE WIRETAPS
17
18         On June 5, 2007, the government filed with this Court a notice of related cases
19   for the following cases:
20                       1-United States v. Jesus Vega: CR-S-07-165;
21                       2- United States v. Rito Beltran-Leon: CR-S-07-170;
22                       3- United States v. Jose Portillo: CR-S-07-189.
23         The government gave notice that the cases were related due to the wiretaps that
24   were related. The status of the related cases is as follows:
25         1-United States v. Jesus Vega: CR-S-07-165–the government filed an
26   indictment on April 26, 2007 and a superseding indictment of August 2, 2007 alleging
27   conspiracy with intent to distribute and distribution of at least 5 kilograms of a
28                                               3
        Case 2:07-cr-00289-MCE Document 28 Filed 09/25/07 Page 4 of 6


 1   mixture and a substance containing a detectable amount of cocaine (alleged violation
 2   of Title 21 U.S.C. section 846 and 841(a)(1). On July 31, 2007, a status conference
 3   was held and the case was continued to September 25, 2007, with time under the
 4   Speedy Trial Act excluded under Title 18 U.S.C. section 3161(h)(8)(B)(ii) and (iv)
 5   and Local Codes T-2 and T-4 complexity and reasonable time necessary for effective
 6   preparation by counsel;
 7         2- United States v. Rito Beltran-Leon: CR-S-07-170–the government filed an
 8   indictment on April 26, 2007 alleging against all three defendants two counts, Count
 9   one conspiracy to possess with intent to distribute and distribution of at least 500
10   grams of a mixture and substance containing a detectable amount of
11   methamphetamine (Title 21 U.S.C. section 846 and 841(a)(1) and count two
12   possession of at least 500 grams of a mixture and substance containing a detectable
13   amount of methamphetamine with intent to distribute (Title 21 U.S.C. section
14   841(a)(1). Status conferences were held on May 21, June 26 and July 31, 2007 with
15   time excluded under the Speedy Trial Act under Title 18 U.S.C. section
16   3161(h)(8)(B)(iv) and local code T-4 for reasonable time necessary for effective
17   preparation by counsel. The case has a status conference set for September 25, 2007;
18         3. United States v. Jose Portillo: CR-S-07-189; the government filed an
19   indictment on May 3, 2007 against the single defendant alleging a violation of title 21
20   U.S.C. section 846 and 841(a)(1) conspiracy to possess with intent to distribute and
21   distribution of at least 5 kilograms of a mixture and substance containing a detectible
22   amount of cocaine. A status conference was held on July 31, 2007 and the case was
23   continued to September 25, 2007 with time excluded under the Speedy Trial Act
24   under Title 18 U.S.C. section 3161(h)(8)(B)(iv) and local code T-4 for reasonable
25   time necessary for effective preparation by counsel.
26
27
28                                               4
        Case 2:07-cr-00289-MCE Document 28 Filed 09/25/07 Page 5 of 6


 1                      SPEEDY TRIAL ACT-EXCLUSION OF TIME
 2         The parties agree and stipulate the Court can find an exclusion of time from the
 3   Speedy Trial Act, Title 18 U.S.C. section 3161, et seq., based on the complexity of
 4   the case due to the amount of discovery (both number of pages presently over 2,500,
 5   the voluminous amount of audio wire tap recordings and the new discovery the
 6   government will be producing), the fact that all the defendants speak and write only in
 7   Spanish and the written discovery is only in English and that the audio tapes are
 8   mostly in Spanish and that defense counsel must use an interpreter when reviewing
 9   the written discovery and the audio tape wire tap recordings with their respective
10   clients, that fact that this case is related to three other cases in this Court, the needs of
11   counsel to prepare pursuant to Title 18 U.S.C. section 3161(h)(8)(B)(ii) and (iv) and
12   Local Codes T-2 and T-4 for complexity and reasonable time necessary for effective
13   preparation by counsel; the parties stipulate and agree that the interests of justice
14   served by granting this continuance outweigh the best interests of the public and the
15   defendants in a speedy trial, Title 18 U.S.C. § 3161(h)(8)(A), for the all of the above
16   stated factual reasons.
17                 Defense counsel has discussed this with the government and the
18   government agrees with the continuance.
19         Finally, James R. Greiner has been authorized by counsel for the government
20   and other defense counsel to sign on their behalf.
21                                     Respectfully submitted,
22                                     McGREGOR W. SCOTT
                                       UNITED STATES ATTORNEY
23   DATED: 9-20-07
24                                     /s/ CAROLYN K. DELANEY authorized by e mails
25                                     _____________________________________
                                       CAROLYN K. DELANEY
26                                     ASSISTANT UNITED STATES ATTORNEY
                                       ATTORNEYS FOR THE PLAINTIFF
27
28                                                5
       Case 2:07-cr-00289-MCE Document 28 Filed 09/25/07 Page 6 of 6


 1   DATED: 9-20-07              LAW OFFICES OF DWIGHT M. SAMUEL
 2                               /s/ DWIGHT M. SAMUEL
                                 _____________________________________
 3                               DWIGHT M. SAMUEL
                                 ATTORNEY FOR DEFENDANT
 4                               MISAEL CAMACHO
 5   DATED: 9-20-07              LAW OFFICE OF GILBERT A. ROQUE
 6                               /s/ GILBERT A. ROQUE
 7                               _________________________________
                                 GILBERT A. ROQUE
 8                               ATTORNEY FOR DEFENDANT
                                 JUAN CAMACHO
 9
     DATED: 9-20-07              LAW OFFICES OF JAMES R. GREINER
10
                                 /s/ JAMES R. GREINER
11                               _____________________________________
                                 JAMES R. GREINER
12                               ATTORNEY FOR DEFENDANT
                                 EDI CAMACHO
13
14                                     ORDER
15
16        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
17
18   DATED: September 25, 2007
19
20
21
22
23
24
25
26
27
28                                        6
